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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                4:14CR3138
      vs.
                                                           DETENTION ORDER
ANDREW JOSE ESPINOZA,
                      Defendant.


       The defendant was previously released on conditions, but violated the terms of
that release by being discharged from a treatment facility.        Based on the evidence
presented, the court finds the defendant has failed to comply with the conditions of his
pretrial supervision and, as such, defendant’s release would pose a risk of harm to the
community and a risk of flight.

       Accordingly,

       IT IS ORDERED:

       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.

       February 9, 2015.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
